                    Case 2:07-cr-00061-MHT-WC Document 112 Filed 09/28/07 Page 1 of 1
O AO 472 (Rev. 12/03) O rder of D etention Pending T rial


                                            U NITED STATES D ISTRICT COURT
                           MIDDLE                                           District of                                      ALABAMA
         UNITED STATES OF AMERICA
                    V.                                                                     ORDER OF DETENTION PENDING TRIAL
        ARINNIYI OMOLADE AKINYEMI                                                     Case Number: 2:07cr61-MHT
                             Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require
the detention of the defendant pending trial in this case.
                                                                     Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
          or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
          G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
          G an offense for which the maximum sentence is life imprisonment or death.
          G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                                         .*
          G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
               § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
          for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                              Alternative Findings (A)
G    (1) There is probable cause to believe that the defendant has committed an offense
         G for which a maximum term of imprisonment of ten years or more is prescribed in                                                           .
         G under 18 U.S.C. § 924(c).
G    (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                              Alternative Findings (B)
x    (1) There is a serious risk that the defendant will not appear.
G    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.
         Defendant is not a citizen of the United States and has no family or ties to the community. Additionally, defendant consents to detention.




                                                 Part II—Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by                   G clear and convincing evidence G a prepon-
derance of the evidence that




                                                         Part III—Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be
afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an
appearance in connection with a court proceeding.
                      9/28/07                                                                      /s/ W allace Capel, Jr.
                       D ate                                                                              Signature of Judge
                                                                                      W ALLACE CAPEL, JR., United States M agistrate Judge
                                                                                                       Nam e and Title of Judge

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1
of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
